      Case 4:22-cv-00896 Document 6 Filed on 08/11/22 in TXSD Page 1 of 2
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                              August 11, 2022
                       UNITED STATES DISTRICT COURT
                                                                             Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


SUPERIOR CONSULTING GROUP, et §
al.,                          §
                              §
      Plaintiffs,             §
                              §
VS.                           §                 CIVIL ACTION NO. 4:22-CV-00896
                              §
PHH MORTGAGE CORPORATION, et §
al.,                          §
                              §
      Defendants.             §

      ORDER FOLLOWING TELEPHONE SCHEDULING CONFERENCE
                 HELD ON August 11, 2022 at 9:00 AM

       Appearances:              Waived


       The following schedule shall govern the disposition of this case:

       Discovery to be completed by:                  January 31, 2023
       Dispositive motions due by:                    February 20, 2023
       Docket call to be held at 11:30 AM on:         June 5, 2023
       Estimated trial time: 3-4 days                 Bench Trial


The following rulings were made:

   • Discovery may be extended by agreement of the parties without Court
     intervention. The dispositive motion deadline and docket call dates, however,
     may not be extended without leave of Court.

   • Attorney’s fee applications are handled on the papers of the parties after notice.


1/2
      Case 4:22-cv-00896 Document 6 Filed on 08/11/22 in TXSD Page 2 of 2




  • Expedited responses are required on all pretrial motions save dispositive
    motions.

      It is so ORDERED.

      SIGNED on August 10, 2022, at Houston, Texas.


                                           ______________________________
                                           Kenneth M. Hoyt
                                           United States District Judge




2/2
